Case 9:24-cv-80022-DMM Document 57 Entered on FLSD Docket 08/29/2024 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 24-80022-CV-MIDDLEBROOKS

  RYAN GOULD,

         Plaintiff,
  v.

  BETHANY GUERRIERO and JOSEPH
  STRZELECKI,

         Defendants.
                                                  /

                                        FINAL JUDGMENT

         THIS CAUSE comes before the Court upon the Court’s Order on Motions for Summary

  Judgment. (DE 56). Consistent with that Order and pursuant to Federal Rule of Civil Procedure

  58, final judgment is entered as set forth below.

         It is hereby ORDERED AND ADJUDGED that

         1) Final Judgment is ENTERED in favor of Defendants Bethany Guerriero and Jospeh

             Strzelecki and against Plaintiff Ryan Gould on all claims brought in Plaintiff’s

             Complaint. (DE 1).

         2) The Clerk of Court is instructed to CLOSE this case and DENY all pending motions

             as moot.

         SIGNED in Chambers at West Palm Beach, Florida, this 29th day of August, 2024.




                                                           ________________________
                                                           Donald M. Middlebrooks
                                                           United States District Judge
  cc:    Counsel of Record
